            IN THE DISTRICT COURT OF THE UNITED STATES
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        BRYSON CITY DIVISION

                         CRIMINAL NO. 2:93CR71


UNITED STATES OF AMERICA            )
                                    )
                                    )
            VS.                     )           ORDER
                                    )
                                    )
ROY BYNUM KEENER                    )
                                     )


      THIS MATTER is before the Court on Defendant’s pro se motion for an

early termination from supervised release, filed October 28, 2005.

      For the reasons stated in the motion, and the Probation Officer and

United States Attorney having no objections to the early termination of

Defendant’s supervised release,

      IT IS, THEREFORE, ORDERED that the Defendant’s motion is

ALLOWED, and that the Defendant be and is hereby discharged from

Supervised Release and the proceedings in this case are terminated.




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                  Signed: November 28, 2005




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